Case 8:24-cv-01486-JVS-KES Document 73 Filed 07/08/24 Page 1 of 1 Page ID #:32



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA




                                                   CASE NUMBER:
  DAVID A. STEBBINS
                                   PLAINTIFF(S),     8:24−cv−01486−JVS−KES

       v.

  JARROD JONES
                                                    Notice to Counsel Re Consent to Proceed
                                 DEFENDANT(S).
                                                    Before a United States Magistrate Judge




  The parties are advised they may consent to proceed before any available magistrate judge
  participating in the Voluntary Consent to Magistrate Judges Program to conduct all further
  proceedings in the case pursuant to 28 U.S.C. § 636(c) and Federal Rules of Civil
  Procedure 73. The consent list and consent form are available on the court's website at
  http://www.cacd.uscourts.gov/judges-requirements/court-programs/voluntary-consent-
  magistrate-judges-program. To confirm a particular magistrate judge's availability to
  schedule the trial in the time frame desired by the parties and/or willingness to
  accommodate any other special requests of the parties, please contact the magistrate judge's
  courtroom deputy prior to filing the consent.
  Since magistrate judges do not handle felony criminal trials, civil trial dates are not at risk
  of being preempted by a felony criminal trial, which normally has priority. Further, in
  some cases, the magistrate judge may be able to assign an earlier trial date than a district
  judge. The parties can select a participating Magistrate Judge from any of the three
  divisions in the Central District of California. There may be other advantages or
  disadvantages which you will want to consider.
  The plaintiff or removing party must serve this Notice on each named party in the case.
